
660 S.E.2d 537 (2008)
STATE of North Carolina
v.
Tommie Earl MYLES.
No. 41A08.
Supreme Court of North Carolina.
March 6, 2008.
John P. Scherer, II, Assistant Attorney General, Michael Bonfoey, District Attorney, for State of NC.
Constance E. Widenhouse, Assistant Appellate Defender, for Myles.
Prior report: ___ N.C.App. ___, 654 S.E.2d 752.

ORDER
Upon consideration of the petition filed by State of NC on the 28th day of January 2008 *538 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 6th day of March 2008."
